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   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00212 MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   RUVILA ELIZABETH LIMA, et al.,                      DATE: August 1, 2019
                                                         TIME: 10:00 a.m.
15                                Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17                                                STIPULATION

18          1.      By previous order, this matter was set for status on August 1, 2019.

19          2.      By this stipulation, defendant Poya Khanjan, through his respective counsel of record, now

20 moves to continue the status conference until September 19, 2019, and to exclude time between August 1,
21 2019, and September 19, 2019, under Local Code T4.
22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The United States has represented that the discovery associated with this case

24 includes, collectively, investigative reports, electronic discovery obtained from the search of various
25 electronic devices, records from the California Department of Motor Vehicles, and records from telephone
26 providers and banks that exceed 2,000 pages, all of which is subject to a protective order. Counsel for
27 Khanjan substituted in on July 30, 2018, and was provided discovery subsequent to that date after

28 executing the protective order in the case so as to receive the discovery.

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             1
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 1                  b)     Counsel for defendant requires more time to consult with his client, to conduct

 2 additional investigation and research related to the charges, including more time to investigate whether
 3 there are potential immigration consequences, to discuss potential resolution with his client, and to
 4 research pretrial motions and defenses, along with issues associated with the Sentencing Guidelines.
 5                  c)     Counsel for defendant believes that failure to grant the above-requested continuance

 6 would deny counsel the reasonable time necessary for effective preparation, taking into account the

 7 exercise of due diligence.
 8                  d)     The United States does not object to the continuance.

 9                  e)     Based on the above-stated findings, the ends of justice served by continuing the

10 case as requested outweigh the interest of the public and the defendant in a trial within the original date
11 prescribed by the Speedy Trial Act.
12                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

13 seq., within which trial must commence, the time period of August 1, 2019 to September 19, 2019,
14 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
15 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s finding
16 that the ends of justice served by taking such action outweigh the best interest of the public and the
17 defendant in a speedy trial.
18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
20 must commence.
21          IT IS SO STIPULATED.

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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              2
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     Dated: July 30, 2019                            McGREGOR W. SCOTT
 1                                                   United States Attorney
 2                                                   /s/ Rosanne L. Rust
                                                     ROSANNE L. RUST
 3                                                   Assistant United States Attorney
 4
     Dated: July 30, 2019                            /s/ Steve Whitworth (as
 5                                                   authorized)
                                                     STEVE WHITWORTH
 6
                                                     Counsel for Defendant
 7                                                   POYA KHANJAN

 8
 9                                             ORDER
10        IT IS SO ORDERED.
11 Dated: August 5, 2019
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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER     3
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